                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


J & J SPORTS PRODUCTIONS, INC.,                  )
                                                 )
        Plaintiff,                               )
                                                 )        NO. 3:17-cv-00694
v.                                               )        JUDGE RICHARDSON
                                                 )
GUSTAVO VASQUEZ, individually and                )
d/b/a LAS VAQUERITAS                             )
                                                 )
        Defendants.                              )

                                            ORDER
       For the reasons discussed in the accompanying Memorandum Opinion, Plaintiff’s Motion

for Summary Judgment (Doc. No. 28) is GRANTED IN PART and DENIED IN PART. The

motion is GRANTED as to Plaintiff’s claims under 47 U.S.C. § 605. The motion is DENIED AS

MOOT as to Plaintiff’s claims under 47 U.S.C. § 553. The Court AWARDS damages in the

amount of $6,600.00 to Plaintiff.

       This Order shall constitute the final judgment in this case under Fed. R. Civ. P. 58.

       IT IS SO ORDERED.




                                                     ____________________________________
                                                     ELI RICHARDSON
                                                     UNITED STATES DISTRICT JUDGE




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